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                                                        By Jessica Batista at 5:35 pm, Apr 21, 2021
2020R0r209 /BL

                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA                     Hon. Claire C. Cecchi

                                             Crim. No. 21- 342 (CCC)

HASSAN CRAWFORD                               18   u.s.c.   S e22(g)(1)



                                 INDICTMENT
      The Grand Jury in and for the District of New Jersey, sitting at Newark,

charges:

                                    COUNT ONE
        (Possession of a Firearm and Ammunition by a Convicted Felonl

       On or about November 2, 2O2O, in Essex County, in the District of New Jersey

and elsewhere, the defendant,

                                HASSAN CRAWFORD,

knowing that he had previously been convicted in a court of at least one crime

punishable by a term of imprisonment exceeding one year, did knowingly possess

in and affecting commerce a firearm and ammunition-namely, one Smith and
Wesson .45 caliber pistol, bearing serial number TDT8737, and thirty-live (35)

rounds of .45 caliber ammunition.

       In violation of Title 18, United States Code, Section 922(gl(ll.
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                                FORFEITURE ALLEGATION

      As a result of committing the firearm offense alleged in this Indictment, the

defendant, HASSAN CRAWFORD, shall forfeit to the United States, pursuant to 18

U.S.C. S 924(dl(11 and 28 U.S.C. S 2461(cl, any firearm and ammunition involved

in or used in the commission of such offense, including but not limited to:
      (1) One Smith and Wesson .45 caliber pistol, bearing serial number

          TDT8737; and

      (2) Thirty-five (35) rounds of .45 caliber ammunition.

                           SUBSTITUTE ASSETS PROVISION

      If any of the above described forfeitable property, as a result of any act or
omission of the defendant:

                (a)   cannot be located upon the exercise ofdue diligence;

                (b)   has been transferred or sold to, or deposited with, a third

                      person;

                (c)   has been placed beyond the jurisdiction ofthe Court;

                (d)   has been substantially diminished in value; or

                (e) has been commingled with other property which            cannot be

                subdivided without difficulty,
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it is the intent of the United States, pursuant to 21 U.S.C. S 853(p), to seek
forfeiture of any other property of the defendant up to the value of the above

described forfeitable property.



                                               A TRUtr BILL



                                                  REPERSON




   CHAEL A. HONIG
Acting United States Attorney
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                        CASE NUMBER: 21- 342 (CCC)

              United States District Court
                District of New Jersey

                UNITED STATES OF AMERICA

                                   v,

                      HASSAN CRAWFORI)


                    INDICTMENT FOR
                        18 U.s.c. S e22(gl(1)


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                        RA,cneeLA. HoNIG
                 ACTIN G UNITED STA ?ES ATTOR]VEY
                         NEWARK, NEW JERSEY

                            BENJAMIN LEVIN
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